         Case 2:12-cv-02612-RDP Document 13 Filed 09/04/12 Page 1 of 5                              FILED
                                                                                           2012 Sep-04 PM 10:25
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHER DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

MORGAN KEEGAN & COMPANY,                    )
INC.,                                       )
                                            )
       Petitioner,                          )
                                            )
v.                                          )      CIVIL ACTION NO.
                                            )      2:12-cv-02612-RDP
MUNICIPAL WORKERS                           )
COMPENSATION FUND, INC.,                    )      OPPOSED
                                            )
       Respondent.                          )

                     MOTION TO STRIKE PETITION TO CONFIRM

       Respondent Municipal Workers Compensation Fund ("MWCF") respectfully submits this

motion to strike the filing of Petitioner Morgan Keegan & Company, Inc. ("Morgan Keegan")

styled as "Petition for Confirmation of Arbitration Award and for Final Judgment" ("Petition for

Confirmation") (Doc. # 1) for failure to comply with the statutory directives and provisions of

the Federal Arbitration Act ("FAA"). As explained in more detail infra, Morgan Keegan's

Petition for Confirmation is fundamentally flawed under the FAA because: (1) it does not

include the arbitration agreement between the parties as well as other items required under 9

U.S.C. § 13; and (2) it is not styled as a motion. As a result, Morgan Keegan's Petition for

Confirmation is due to be stricken.

I.     Morgan Keegan's Petition for Confirmation Fails to Comply with the Requirements
       of the FAA.

       The FAA contains specific requirements for the filing of a motion to confirm an

arbitration award, which Morgan Keegan clearly ignored. Section 13 of the FAA provides that

the party attempting to confirm an arbitration award must contemporaneously file the arbitration

agreement between the parties. That section requires:       "The party moving for an order
          Case 2:12-cv-02612-RDP Document 13 Filed 09/04/12 Page 2 of 5



confirming . . . an award shall, at the time such order is filed with the clerk for the entry of

judgment thereon, also file the following papers with the clerk: (a) The agreement; the selection

or appointment, if any, of an additional arbitrator or umpire . . . ." 9 U.S.C. § 13(a). See also

United Cmty. Bank v. Arruarana, No. 10-248, 2011 WL 2748722, at *2 (W.D.N.C. July 13,

2011) (party moving to confirm award must attach arbitration agreement in order to "show that it

is entitled to confirmation of the arbitration award as a matter of law").

       On August 2, 2012, Morgan Keegan filed its Petition for Confirmation, attaching only the

Arbitration Award as Exhibit 1. See Doc. # 1. Morgan Keegan failed to attach the arbitration

agreement between Morgan Keegan and MWCF. See 9 U.S.C. § 13(a). Morgan Keegan also

failed to attach documents demonstrating "the selection or appointment . . . of an additional

arbitrator" in the arbitration proceeding, as four (4) additional arbitrators were appointed in the

arbitration after the original three (3) arbitrators were appointed and were then later removed or

recused themselves. Id. Thus, Morgan Keegan has failed to comply with section 13 of the FAA.

See id.; see also Arruarana, 2011 WL 2748722, at *2 ("Without the filings required by § 13

[specifically, the arbitration agreement], the Court is unable to conclude from the record that a

valid arbitration agreement and award exist and therefore is unable to determine whether the

Petitioner is entitled to a judgment as a matter of law."). As such, Morgan Keegan's Petition

facially fails to comply with the FAA's requirements for confirmation of an award and is

therefore due to be stricken.

II.    Morgan Keegan's Petition for Confirmation Is Impermissibly Styled.

       As Morgan Keegan admits in its Response to MWCF's Motion to Dismiss, the party

seeking to confirm or vacate an arbitration award must do so by motion. See Doc. # 11 at 9. "The

statutes and rules do not permit a party to initiate a challenge to an arbitration award [or to move




                                                  2
         Case 2:12-cv-02612-RDP Document 13 Filed 09/04/12 Page 3 of 5



to confirm that award] by filing a complaint or an 'Application.'" Interior Finish Contractors

Ass'n of Del. Valley v. Drywall Finishers Local Union No. 1955, 625 F. Supp. 1233, 1240 (E.D.

Pa. 1985). However, Morgan Keegan's Petition for Confirmation does not comply with this

requirement; it is not styled as a motion, and instead is confusingly designated as a "Petition."

       In Interior Finish Contractors, the party seeking vacatur of an arbitration award failed to

follow the requirement of filing a motion and then tried to enforce the decision in its favor when

the other party was flummoxed by his improper procedures and did not timely assert its opposing

position. Id. The court soundly rejected such a ploy, stating:

       defendant was reasonably and justifiably confused as how to respond to plaintiff's
       'Application for Vacation of the Arbitrator's Award' (the 'Application'). The
       "Application" was not designated as a motion as it should have been. . . . [a]lso,
       plaintiff's "Application" was not accompanied by a supporting brief as required by
       . . . the Local Rules . . .

Id.

       As a result of Morgan Keegan's failure to appropriately designate its Petition for

Confirmation as a motion, it is due to be stricken. Alternatively, at the very least, Morgan

Keegan should be estopped from relying on its own improperly styled Petition to divest MWCF

of its right to assert its position, namely, that the Award is due to be vacated. See Doc. # 11 at 6-

7.

                                         CONCLUSION

       Morgan Keegan's Petition for Confirmation is due to be stricken because: (1) it does not

include the arbitration agreement and other documents required by Section 13 of the FAA; and

(2) it failed to follow the requirement—acknowledged by Morgan Keegan—that the party

moving to confirm an arbitration award must do so by motion. Moreover, Morgan Keegan's

actions and its hyper-technical arguments contained in its Response to MWCF's Motion to




                                                 3
         Case 2:12-cv-02612-RDP Document 13 Filed 09/04/12 Page 4 of 5



Dismiss are cast in a particularly poor light when one considers that Morgan Keegan itself has

ignored the formal requirements for seeking confirmation of an arbitration award in the federal

court system. Because Morgan Keegan's "Petition to Confirm" is defective under the FAA, it is

due to be stricken and the action dismissed.

       Respectfully submitted this the 4th day of September, 2012.

                                               /s/ Page A. Poerschke
                                               Page A. Poerschke
                                               One of the Attorneys for Respondent
                                               Municipal Workers Compensation Fund, Inc.

OF COUNSEL:

Page A. Poerschke
Laura S. Dunning
Rebecca A. Beers
HASKELL SLAUGHTER
YOUNG & REDIKER, LLC
2001 Park Place, Suite 1400
Birmingham, AL 35203
pap@hsy.com
lsd@hsy.com

Peter J. Mougey
LEVIN PAPANTONIO THOMAS MITCHELL
RAFFERTY & PROCTOR, P.A.
316 South Baylen Street, Suite 600
Pensacola, FL 32502-5996
pmougey@levinlaw.com




                                                 4
         Case 2:12-cv-02612-RDP Document 13 Filed 09/04/12 Page 5 of 5



                               CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing pleading upon all counsel of
record via the Court's CM/ECF electronic filing system this the 4th day of September, 2012.

Peter S. Fruin
Donald F. Winningham III
Maynard Cooper & Gale, P.C.
109 Sixth Avenue, Suite 2400
Regions/Harbert Plaza
Birmingham, AL 35203
pfruin@maynardcooper.com
dwinningham@maynardcooper.com

Terry Weiss, Esq.
George Sullivan, Esq.
Greenberg Traurig, LLP
Terminus 200, 333 Piedmont Road NE, Suite 2500
Atlanta GA 30305


                                                   /s/ Rebecca A. Beers
                                                   OF COUNSEL




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